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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO



JARED BACA, et al.,

        Plaintiffs,

v.                                                              Civ. No. 18‐16 JCH/GBW

QUICK BAIL BOND AND TAX SERVICE, et al.,

        Defendants.

      ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
                  RESPONSES AND FOR SANCTIONS

        On July 16, 2019, Plaintiffs filed an Opposed Motion to Compel Discovery

Responses and for Sanctions. Doc. 105. The motion seeks responses to discovery

requests propounded to Defendants Quick Bail Bond and Tax Service, Yeira Ivonne

Sanchez a/k/a Yeira Arreola and Fabian Ken Terveen Arreola. Id. Pursuant to the Local

Rules, any response would have been due on July 30, 2019. See D.N.M.LR‐Civ. 7.4(a).

That date has passed and none of these Defendants has filed a response, a request for an

extension or a notice informing the Court of an agreed extension.1 Such constitutes

consent to grant the motion under the Local Rules. See D.N.M.LR‐Civ. 7.1(b) (“The

failure of a party to file and serve a response in opposition to a motion within the time

prescribed for doing so constitutes consent to grant the motion.”).



        “For each agreed extension, the party requesting the extension must file a notice identifying the
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new deadline and the document (response or reply) to be filed.” D.N.M.LR‐Civ. 7.4(a).
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       The Court will therefore GRANT Plaintiffs’ Opposed Motion to Compel

Discovery Responses and for Sanctions. Consequently, Defendants Quick Bail Bond

and Tax Service, Yeira Ivonne Sanchez a/k/a Yeira Arreola and Fabian Ken Terveen

Arreola shall produce verified answers and documents responsive to Plaintiffs First Set

of Discovery to Defendants Quick Bail Bond and Tax Service, Yeira Ivonne Sanchez

a/k/a Yeira Arreola and Fabian Ken Terveen Arreola. These responses shall be provided

no later than August 14, 2019.

       Plaintiffs also seek fees and costs associated with the filing of this motion

pursuant to Fed. R. Civ. P. 37. Given that Defendants have been given the opportunity

to respond and have not presented any argument supporting an exception under Fed.

R. Civ. P. 37(a)(5), Defendants Quick Bail Bond and Tax Service, Yeira Ivonne Sanchez

a/k/a Yeira Arreola and Fabian Ken Terveen Arreola are ordered to pay Plaintiffs’

reasonable expenses incurred in making the motion. Within seven days of the entry of

this Order, Plaintiffs shall file an affidavit outlining such expenses. Defendants’

objections to the amount claimed, if any, shall be filed within seven days of the filing of

the affidavits.

       IT IS SO ORDERED.




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                                          GREGORY B. WORMUTH
                                          UNITED STATES MAGISTRATE JUDGE


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